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BRIAN RAYMOND SCHECKLA, REG #78552-097
3547 SOUTH GOLDEN STATE BLVD.

FRESNO, CA 93725

BRIAN RAYMOND SCHECKLA, IN PRO PER CLERK, U.S. DISTRICT COURT

EASTERN PISTRICT OF CALIFORNIA
BY .

JUL 08 2024

DEPUTY CLERK

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

(SACRAMENTO DIVISION)
UNITED STATES OF AMERICA, CASE NO. 2:19-cr-00189-JAM-1
Plaintiff,
NOTICE OF MOTION FOR
VS. . ADDITIONAL TIME TO FILE

MOTION TO VACATE, SET ASIDE,

Defendant, PURSUANT TO 28 U.S.C. § 2255

Come Now, Defendant, BRIAN RAYMOND SCHECKLA, Pro Se, hereby
request that this court to grant this motion for additional time to file motion pursuant
28 U.S.C. § 2255 vacate, set aside, or correct sentence.

Due to the recent filed motion to return property. Defendant Scheckla is
asking this honorable court for 60 additional days pending the outcome of the motion
to return property, so he can retain private counsel to assist him with his motion to
vacate, set aside or resentence pursuant to 28 U.S.C. § 2255.

Respectfully,
Brian Scheckla /s/ Pro Se
July 3, 2024

